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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                             SHREVEPORT DIVISION

 D.J. XXX-XX-5028                                  CIVIL ACTION NO. 19-1045

 VERSUS                                            JUDGE S. MAURICE HICKS, JR.

 U S COMMISSIONER OF SOCIAL SECURITY               MAGISTRATE JUDGE HORNSBY


                                       JUDGMENT

         For the reasons assigned in the Report and Recommendation of the Magistrate

 Judge previously filed herein, and having thoroughly reviewed the record, including the

 written objections (Record Documents 19-21) filed, and concurring with the findings of the

 Magistrate Judge under the applicable law;

         IT IS ORDERED that the Commissioner’s decision is AFFIRMED.

         THUS DONE AND SIGNED at Shreveport, Louisiana, this the 14th day of August,

 2020.
